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 1   SHAMIS & GENTILE, P.A.
     Andrew J. Shamis (Az Bar No. 037343)
 2   ashamis@shamisgentile.com
 3   14 NE 1st Avenue, Suite 705
     Miami, FL 33132
 4   Tel: (305) 479-2299
     Fax: (786) 623-0915
 5
     Attorneys for Plaintiff and the Putative Class
 6

 7                               UNITED STATES DISTRICT COURT
 8                                   DISTRICT OF ARIZONA

 9
      LAURA RHODES, on behalf of herself and             CASE NO.:
10    all others similarly situated,
                                                         CLASS ACTION COMPLAINT
11                           Plaintiff,
12     v.                                                JURY TRIAL DEMANDED
13
      PROGRESSIVE ADVANCED INSURANCE
14    COMPANY,

15                           Defendant.
16
                                      CLASS ACTION COMPLAINT
17
            Laura Rhodes (“Plaintiff”) brings this class action on behalf of herself and all others
18
     similarly situated, by and through undersigned counsel, and for her Complaint against Progressive
19
     Advanced Insurance Company (“Defendant” or “Progressive”) states and alleges as follows:
20
                                             INTRODUCTION
21
            1.      This is a class action on behalf of Plaintiff and all other similarly situated claimants
22
     in Arizona who received a payment for the loss of a totaled vehicle from Defendant, where
23
     Defendant used valuation reports prepared by Mitchell International, Inc. (“Mitchell”) to determine
24
     the actual cash value (“ACV”) of the loss vehicles. Through Mitchell’s valuation, Defendant
25
     systemically thumbs the scale when calculating the ACV of claimants’ loss vehicles by applying
26
     so-called “Projected Sold Adjustments” that are: (a) deceptive and unexplained; (b) contrary to
27
     appraisal standards and methodologies; (c) not based in fact, as they are contrary to the used car
28
     industry’s market pricing and inventory management practices; (d) not applied by the major


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 1   competitor of Defendant’s vendor Mitchell; and (e) on information and belief, not applied by

 2   Defendant and Mitchell to insureds in other states like California.

 3           2.      In the event of a “total loss” to an insured vehicle—i.e., where repair of the vehicle

 4   is impossible or uneconomical—Defendant’s uniform insurance policies with Plaintiff and all

 5   putative Class members (defined below) promises to pay for the loss, limited to the ACV the

 6   vehicle. Attached as Exhibit A is a copy of Plaintiff’s Policy (“Policy”), which is materially

 7   identical to the policy for all members of the putative Class.

 8           3.      When valuing total loss claims for vehicles, it is improper for an automobile

 9   insurance company, such as Progressive, to undervalue and underpay the claims by manipulating

10   the data used to determine the ACV of the vehicles. Specifically, under its insurance policy terms

11   and applicable Arizona law, Defendant has a duty to pay, and represent that they will pay, the ACV

12   of a loss vehicle when adjusting total loss claims. Notwithstanding these obligations and

13   representations, Defendant fails to fulfill this obligation by making improper and unreasonable

14   adjustments to reduce the value of comparable vehicles, which in turn reduces the valuation of the

15   total loss vehicles and the claim payment to the insured/claimant.

16           4.      Specifically, Defendant, through Mitchell, systemically applies a so-called

17   “Projected Sold Adjustment” that results in a significant downward adjustment to the base values

18   of the comparable vehicles used to calculate the ACV of Plaintiff’s and Class members’ total loss

19   vehicles. This reduction is contrary to appraisal standards and methodologies and is not based in

20   fact, as it is contrary to the used car industry’s market pricing and inventory management practices.

21   The adjustment is applied to each of the comparable vehicles on top of adjustments for differences

22   such as mileage, options, and equipment. The only purported explanation for the downward

23   adjustment appears on the last page of the valuation reports and is a general, nondescript statement

24   claiming that the reduction is to “reflect consumer purchasing behavior (negotiating a different

25   price than the listed price).” Exhibit B at p. 10.

26           5.      Through Defendant’s deceptive, fraudulent, and unfair scheme, Defendant breached

27   its contracts and the covenant of good faith and fair dealing and was unjustly enriched.

28           6.      As a result of Defendant’s deceptive, fraudulent, and unfair scheme, Plaintiff did

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 1   not receive the benefit of her bargain, and thus sustained actual damages.

 2           7.      By this action, Plaintiff, individually and on behalf of the Class, seek damages and

 3   injunctive and declaratory relief.
                                                  PARTIES
 4
             8.      Plaintiff Laura Rhodes, at all relevant times, was an Arizona citizen. At all relevant
 5
     times, Plaintiff was contracted with Progressive for automobile insurance. On or about September
 6
     2, 2021, Plaintiff was in a car wreck and Defendant deemed her vehicle to be a total loss.
 7
             9.      Defendant Progressive Advanced Insurance Company is an Ohio company with its
 8
     principal place of business in Ohio. Defendant provides insurance coverage throughout the United
 9
     States for first-party property damage under collision and/or comprehensive coverage.
10
                                      JURISDICTION AND VENUE
11
             10.     Minimal diversity exists under the Class Action Fairness Act (“CAFA”), 28 U.S.C.
12
     §§ 1332(d), 1441(a)-(b), and 1453. Plaintiff and the proposed class members are citizens of the
13
     State of Arizona. Defendant is an Ohio Corporation that has its corporate headquarters in Mayfield
14
     Village, OH, and, at all relevant times hereto, Defendant was engaged in the business of marketing
15
     and selling insurance policies and adjusting insurance claims in the State of Arizona.
16
             11.     Plaintiff estimates that there are more than 100 putative class members, and the
17
     aggregate compensatory damages (in the amount of the Projected Sold Adjustments that were
18
     deceptively deducted), claimed by Plaintiff and the Class are estimated in good faith to exceed
19
     $5,000,000.
20
             12.     Venue is proper in this District under 28 U.S.C. § 1391, as a substantial portion of
21
     the conduct giving rise to Plaintiff’s claim occurred in this District, and Defendant transacts
22
     business in this District.
23
                                          FACTUAL ALLEGATIONS
24
             13.     On September 2, 2021, Plaintiff was involved in a car wreck and sustained physical
25
     damage to her vehicle.
26
             14.     Like all members of the putative Class, Plaintiff made a property damage claim to
27
     Defendant.
28
             15.     Pursuant to the same policies and procedures, Defendant declared Plaintiff’s vehicle
                                                     -3-
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 1   to be a total loss and purported to offer her the ACV of her loss vehicle, as Defendant promised and

 2   represented it would under the uniform provisions of its insurance policies and Arizona law.

 3          16.     When calculating its valuations and claims payments, Defendant systemically

 4   employs a routine “total loss settlement process.” The process has no material differences relevant

 5   to this action, regardless of whether it involves first-party or third-party claimants or which

 6   Progressive Group entities were directly involved in the issuance of the relevant policy. This

 7   process involves obtaining a “Vehicle Valuation Report” from Mitchell and then using and relying

 8   upon the valuation provided by Mitchell to determine the benefit payment under the policy.

 9   Defendant provided a Mitchell Vehicle Valuation Report for Plaintiff on September 21, 2021. See

10   Exhibit B.

11          17.     The Mitchell Vehicle Valuation Reports used by Defendant during the relevant

12   period followed the same process, provided and disclosed the same or substantially the same

13   material information, and presented that material information in the same or substantially the same

14   format. These valuation reports purport to contain values for comparable vehicles recently sold or

15   for sale in the claimant’s geographic area. The reports also contain a purported valuation for the

16   loss vehicle based upon advertisements for comparable vehicles listed in the report. The report then

17   adjusts the advertised prices of those comparable vehicles to account for differences in equipment,

18   mileage, and vehicle configuration. Exhibit B at p. 10.

19          18.     In addition, however, the valuation reports used by Defendant make a further

20   adjustment to each loss vehicle called a “Projected Sold Adjustment.” For Plaintiff, Projected Sold

21   Adjustments in the amounts of -$891.00, -$1,054.00, -$730.00, and - $679.00 respectively, were

22   applied to four of the five comparable vehicles. Exhibit B at pp. 6-8.

23          19.     Defendant provides no data specific to the comparable vehicles or any explanation

24   of industry practices in its valuation reports to support any Projected Sold Adjustment, much less

25   the specific downward adjustments used in Plaintiff’s valuation report. Instead, the only explanation

26   is buried on the last page of each report, stating in full: “Projected Sold Adjustment – an adjustment

27   to reflect consumer purchasing behavior (negotiating a different price than the listed price).”

28   Exhibit B at p. 10.

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 1          20.     Defendant’s Projected Sold Adjustments are deceptive. As part of a deceptive ACV.

 2   Moreover, as described above, Defendant provides no explanation or justification for the Projected

 3   Sold Adjustment, much less the specific amount applied, other than the speculation that it “reflect[s]

 4   consumer behavior.” Exhibit B at p. 10.

 5          21.     In truth, Defendant’s Projected Sold Adjustments do not reflect market realities (the

 6   context in which “consumer behavior” occurs) and run contrary to customary automobile dealer

 7   practices and inventory management, where list prices are priced to reflect the intense competition

 8   in the context of internet pricing and comparison shopping. A negotiated price discount would be

 9   highly atypical and therefore is not proper to include in determining ACV. The inclusion of this

10   significant downward adjustment purportedly to “reflect consumer purchasing behavior” is

11   particularly improper in the context of this action—insureds who have suffered a total loss of their

12   vehicle and need to procure a replacement and have limited time to search out the illusory

13   opportunity to obtain the below-market deal Defendant assumes always exists without any

14   explanation or support.

15          22.     Defendant’s Projected Sold Adjustments are contrary to appraisal standards. There

16   are multiple generally-recognized and acceptable methodologies for determining ACV, including

17   use of comparable vehicles. Defendant begins the process of valuing loss vehicles using

18   comparative methodology but improperly deviates from that process by thumbing the scales in

19   favor of Progressive. Defendant documents the loss vehicle’s and each comparable vehicle’s

20   mileage, options, and trim, which are compared in the report, and make dollar adjustments

21   accordingly. Plaintiff does not challenge these documented adjustments. At this stage of the

22   process, Defendant abandons the comparative methodology and applies adjustments that are

23   contrary to proper appraisal methodologies for determining ACV. Appraisers use advertised prices

24   and only make adjustments based on observed and verifiable data; appraisal standards do not permit

25   arbitrary adjustments from the advertised price based upon undocumented and unverifiable

26   projections.

27          23.     The impropriety and arbitrariness of Defendant’s Projected Sold Adjustments is

28   further demonstrated by the fact that Mitchell’s primary competitor in providing valuation reports

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 1   to insurance companies—CCC Intelligent Solutions—does not apply projected sold adjustments in

 2   this manner. Instead, CCC Intelligent Solutions uses list prices.

 3          24.     On information and belief, the impropriety and arbitrariness of Defendant’s

 4   Projected Sold Adjustments are further demonstrated by the fact that Progressive Group entities do

 5   not apply these adjustments when valuing total losses in California. There is no justification for

 6   applying these adjustments when valuing total losses in Arizona while not subjecting California

 7   claimants to the same negative adjustments.

 8          25.     Plaintiff and each member of the class were damaged by Defendant’s application of

 9   these Projected Sold Adjustments because they were not paid the ACV they would have received

10   had Defendant applied proper methodologies and appraisal standards.

11          26.     Were it not for this deceptive and improper adjustment, the “Base Value” in each

12   valuation report would have been higher, resulting in a higher “settlement value” and in turn a

13   higher payment by Defendant for ACV. Specifically, for Plaintiff, were it not for this deceptive

14   and improper adjustment, the payment of ACV by Defendant would have been $670.80 higher,1

15   before adding the related increase in payments for applicable sales taxes.

16                                       CLASS ALLEGATIONS

17          27.     Plaintiff brings this action individually and as a class action under Fed. R. Civ. P

18   23(a) and (b), on behalf of the following proposed Class:

19                   All Arizona citizens insured by Defendant who, from the earliest
20                   allowable time through the date an Order granting class certification is
                     entered, received compensation for the total loss of a covered vehicle,
21                   where that compensation was based on a valuation report prepared by
                     Mitchell and the ACV was decreased based upon Projected Sold
22
                     Adjustments to the comparable vehicles used to determine ACV.
23
            28.     Excluded from the proposed Class are: (a) Defendant and its agents, officers,
24
     directors, parent companies, subsidiaries, and affiliates; (b) counsel representing Plaintiff and any
25
     person employed by counsel; and (c) any judicial officers assigned to this case and their staff.
26
            29.     Plaintiff reserves her right to amend the Class definition if discovery and further
27

28   1
      $670.80 is the average of the Projected Sold Adjustments applied to four of the five comparable
     vehicles in Plaintiff’s valuation report.
                                                   -6-
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 1   investigation reveal that any Class should be expanded or narrowed, divided into additional

 2   subclasses, or modified in any other way.

 3          30.      Numerosity (Rule 23(a)(1)). The members of the Class are so numerous that

 4   individual joinder of all Class members is impracticable. While Plaintiff is informed and believes

 5   that there are thousands of Class members, the precise number is unknown to Plaintiff but may be

 6   ascertained from Defendant’s books and records. Class members may be notified of the pendency

 7   of this action by recognized Court-approved notice dissemination methods, which may include U.S.

 8   Mail, electronic mail, Internet postings, and/or published notice..

 9          31.      Commonality (Rule 23(a)(2)). This action involves common questions of law and

10   fact, which predominate over any questions affecting individual Class members, including, without

11   limitation:

12                 a. Whether Whether Defendant systemically used Mitchell’s Vehicle Valuation

13                    Reports in adjusting total loss claims to determine ACV;

14                 b. Whether the Mitchell Vehicle Valuation Reports included Projected Sold

15                    Adjustments to the value of the comparable vehicles that reduced the base value,

16                    and thus the claim amount paid by Defendant for the ACV of Plaintiff’s and Class

17                    members’ total loss vehicles;

18                 c. Whether representing to claimants that the Mitchell valuation equated with the

19                    total loss vehicle’s ACV was deceptive;

20                 d. Whether Defendant’s deceptive acts and improper practices injured Plaintiff and

21                    members of the Class;

22                 e. Whether Defendant’s acts violated its obligations under the policy of insurance;

23                 f. Whether Plaintiff and the Class are entitled to compensatory damages, and if so,

24                    the calculation of damages; and

25                 g. Whether Plaintiff and members of the Class are entitled to an injunction

26                    restraining Progressive’s future deceptive acts and practices.

27          32.      Typicality (Rule 23(a)(3)). The claims of the Plaintiff, who is the representative of

28   the Class herein, are typical of the claims of the proposed Class, in that the claims of all members

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 1   of the proposed Class, including the Plaintiff, depend on a showing of the acts of Progressive giving

 2   rise to the right of Plaintiff to the relief sought herein. There is no conflict between the individually

 3   named Plaintiff and the other members of the proposed Class with respect to this action, or with

 4   respect to the claims for relief set forth herein.

 5           33.     Adequacy (Rule 23(a)(4)). Plaintiff is an adequate representative of the Class

 6   because Plaintiff’s interests do not conflict with the interests of the other Class members whom he

 7   seeks to represent, Plaintiff has retained counsel competent and experienced in complex class action

 8   litigation, including successfully litigating class action cases similar to this one, where insurers

 9   breached contracts with insureds. The interests of the Class will be fairly and adequately protected

10   by Plaintiff and her counsel.

11           34.     Predominance & Superiority (Rule 23(b)(3)). Class certification is appropriate

12   under Rule 23 because the common questions of law and fact in this case predominate over

13   questions affecting only individual members of the Class, and a class action is the superior method

14   for fair and efficient adjudication of the controversy. The likelihood that individual members of the

15   Class will prosecute separate action is remote due to the time and expense necessary to conduct

16   such litigation. The class action procedure would permit a large number of injured persons to

17   prosecute their common claims in a single forum simultaneously, efficiently, and without

18   unnecessary duplication of evidence and effort. Class treatment also would permit the adjudication

19   of claims by class members who claims are too small and complex to individually litigate against

20   a large corporate defendant.

21           35.     Final Declaratory or Injunctive Relief (Rule 23(b)(2)). Plaintiff also satisfies the

22   requirements for maintaining a class action under Rule 23(b)(2). Defendant has acted or refused to

23   act on grounds that apply generally to the proposed Class, making final declaratory or injunctive

24   relief appropriate with respect to the proposed Class as a whole.

25           36.     Particular Issues (Rule 23(c)(4)). Plaintiff also satisfies the requirements for

26   maintaining a class action under Rule 23(c)(4). Plaintiff’s claims consist of particular issues that

27   are common to all members of the Classs and are capabale of class-wide resolution that will

28   significantly advance the litigation.

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 1                                      FIRST CAUSE OF ACTION
                                        BREACH OF CONTRACT
 2
               37.   Plaintiff repeats and re-alleges all previously alleged paragraphs as if fully alleged
 3
     herein.
 4
               38.   This Count is brought by the Plaintiff on behalf of the Class.
 5
               39.   Plaintiff and each of the other Class members were insured under a policy issued by
 6
     Defendant, as described herein.
 7
               40.   Plaintiff and each of the other Class members made claims under their insurance
 8
     contracts, which Defendant determined to be first-party total losses under the insurance contract,
 9
     and additionally determined to be covered claims.
10
               41.   Pursuant to the above-described contractual provisions, upon the total loss of their
11
     insured vehicles, Defendant purported to pay Plaintiff and each of the other Class members the
12
     ACV of their totaled vehicles.
13
               42.   Defendant, however, failed to pay the ACV of Plaintiff’s and Class members’
14
     vehicles because Defendant applied an arbitrary and capricious Projected Sold Adjustment to
15
     comparable vehicles in order to reduce their market value and, as a result, Defendant’s total-loss
16
     payments to insureds.
17
               43.   Defendant also failed to comply with Arizona law, which requires insurers who
18
     settle a total loss claim with a cash settlement on the basis of actual cash value to determine the
19
     “actual cost… to purchase a comparable automobile” of a totaled vehicle, determined by “i. The
20
     cost of a comparable automobile in the local market area when a comparable automobile is available
21
     in the local market area” or “ii. One of two or more quotations obtained by the insurer from two or
22
     more qualified dealers located within the local market area when a comparable automobile is not
23
     available in the local market area.” Ariz. Admin. Code Section R20-6-801(H)(1)(b). When the basis
24
     for the total loss settlement deviates from either of these methods, “the deviation must be supported
25
     by documentation giving particulars of the automobile condition. Any deductions from such cost,
26
     including deduction for salvage, must be measurable, discernible, itemized and specified as to
27
     dollar amount and shall be appropriate in amount. The basis for such settlement shall be fully
28
     explained to the first party claimant.” Ariz. Admin. Code Section R20-6-801(H)(1)(c).
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 1          44.        Thus, Defendant failed to pay Plaintiff and each of the other Class members the

 2   promised ACV of their total-loss vehicles and thereby breached its contract with Plaintiff and each

 3   of the other Class members.

 4          45.        As a result of such contractual breaches, Plaintiff and each of the other Class

 5   members have been damaged and are entitled to recover damages, as well as costs, pre-judgment

 6   and post-judgment interest, injunctive relief, and other relief as appropriate.

 7                             SECOND CAUSE OF ACTION
                  BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING
 8
            46.        Plaintiff repeats and re-alleges all previously alleged paragraphs, except those
 9
     allegations made under the preceding Count, as if fully alleged herein.
10
            47.        This Count is brought by the Plaintiff on behalf of the Class.
11
            48.        Every contract, including the Policy, contains an implied covenant of good faith and
12
     fair dealing. The purpose of this duty is to ensure that parties do not take advantage of each other
13
     in a way that could not have been contemplated at the time the contract was drafted or do anything
14
     that will destroy the other party’s right to receive the benefit of the contract.
15
            49.        Disputes involving the exercise of good faith arise when one party is given broad
16
     discretion in performing its obligations under the contract. Where a contract specifically vests one
17
     of the parties with broad discretion in performing a term of the contract, the covenant of good faith
18
     and fair dealing requires that the discretion be exercised reasonably and with proper motive, not
19
     arbitrarily, capriciously, or in a manner inconsistent with the reasonable expectations of the parties.
20
            50.        Under the Policy, Defendant had discretion to perform its obligations under the
21
     contract, including the obligation to determine the ACV of an insured’s total-loss vehicle.
22
     Defendant, however exercised its discretion unreasonably, with an improper motive, and in a
23
     manner that was arbitrary, capricious, and inconsistent with the reasonable expectations of the
24
     parties, specifically, to arbitrarily reduce the amount of its total-loss payments to insureds, as
25
     alleged herein.
26
            51.        Defendant also failed to comply with Arizona law, which requires insurers who
27
     settle a total loss claim with a cash settlement on the basis of actual cash value to determine the
28
     “actual cost… to purchase a comparable automobile” of a totaled vehicle, determined by “i. The
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 1   cost of a comparable automobile in the local market area when a comparable automobile is available

 2   in the local market area” or “ii. One of two or more quotations obtained by the insurer from two or

 3   more qualified dealers located within the local market area when a comparable automobile is not

 4   available in the local market area.” Ariz. Admin. Code Section R20-6-801(H)(1)(b). When the basis

 5   for the total loss settlement deviates from either of these methods, “the deviation must be supported

 6   by documentation giving particulars of the automobile condition. Any deductions from such cost,

 7   including deduction for salvage, must be measurable, discernible, itemized and specified as to

 8   dollar amount and shall be appropriate in amount. The basis for such settlement shall be fully

 9   explained to the first party claimant.” Ariz. Admin. Code Section R20-6-801(H)(1)(c).

10           52.      As such, Defendant breached the covenant of good faith and fair dealing by, inter

11   alia:

12                 a. Intentionally applying Projected Sold Adjustments to undervalue comparable

13                    vehicles, and, in turn, insureds’ total-loss vehicles;

14                 b. Failing to pay insureds the ACV of their total-loss vehicles;

15                 c. Interpreting the terms and conditions of its insurance policies in an unreasonable

16                    manner solely in an effort to understate the value of total-loss vehicles and avoid

17                    paying insureds the ACV on their total-loss claims;

18                 d. Inventing spurious grounds for undervaluing total-loss claims that are hidden, not

19                    specific in dollar amount, not adequately explained, and unreasonable.

20           53.      Defendant’s breaches of the covenant of good faith and fair dealing have caused

21   damages to Plaintiff and the Class. Plaintiff’s and the Class members’ damages include the amounts

22   improperly deducted by Defendant from its payments to insureds on the basis of a Projected Sold

23   Adjustment.

24                                       THIRD CAUSE OF ACTION
                                          UNJUST ENRICHMENT
25
             54.      Plaintiff repeats and re-alleges all previously alleged paragraphs, except those
26
     allegations made under the preceding Counts, as if fully alleged herein.
27
             55.      This Count is brought by the Plaintiff on behalf of the Class.
28
             56.      Plaintiff pleads this claim separately as well as in the alternative to her other claims,
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 1   as without such claims she would have no adequate legal remedy.

 2          57.     Defendant requested and received a monetary benefit at the expense of Plaintiff and

 3   Class members in the form of premium payments for automobile insurance coverage.

 4          58.     Defendant misrepresented, omitted, concealed, and/or failed to disclose material

 5   facts regarding its purported payment of ACV in the event of a total loss, specifically Defendant’s

 6   application of an arbitrary Projected Sold Adjustment to comparable vehicles to artificially reduce

 7   its total-loss payments to insureds.

 8          59.     Defendant also failed to comply with Arizona law, which requires insurers who

 9   settle a total loss claim with a cash settlement on the basis of actual cash value to determine the

10   “actual cost… to purchase a comparable automobile” of a totaled vehicle, determined by “i. The

11   cost of a comparable automobile in the local market area when a comparable automobile is available

12   in the local market area” or “ii. One of two or more quotations obtained by the insurer from two or

13   more qualified dealers located within the local market area when a comparable automobile is not

14   available in the local market area.” Ariz. Admin. Code Section R20-6-801(H)(1)(b). When the basis

15   for the total loss settlement deviates from either of these methods, “the deviation must be supported

16   by documentation giving particulars of the automobile condition. Any deductions from such cost,

17   including deduction for salvage, must be measurable, discernible, itemized and specified as to

18   dollar amount and shall be appropriate in amount. The basis for such settlement shall be fully

19   explained to the first party claimant.” Ariz. Admin. Code Section R20-6-801(H)(1)(c).

20          60.     If Defendant had not misrepresented, omitted, concealed, and/or failed to disclose

21   material facts regarding its purported payment of ACV in the event of a total loss, specifically

22   Defendant’s application of an arbitrary Projected Sold Adjustment to comparable vehicles to

23   artificially reduce its total-loss payments to insureds and its failure to comply with Arizona law,

24   Plaintiff and the Class members either would not have purchased insurance through Defendant, or

25   they would have paid less for such insurance coverage.

26          61.     Accordingly, Defendant was unjustly enriched by the premiums paid by Plaintiff

27   and the Class members to the detriment of Plaintiff and the Class members.

28          62.     Plaintiff and the Class members are, thus, entitled to restitution and disgorgement in

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 1   the amount Defendant was unjustly enriched, in an amount to be determined at trial.

 2                                      FOURTH CAUSE OF ACTION
                                        DECLARATORY JUDGMENT
 3          63.       Plaintiff repeats and re-alleges all previously alleged paragraphs, except those
 4   allegations made under the preceding Counts, as if fully alleged herein.
 5          64.       This Count is brought by the Plaintiff on behalf of the Class.
 6          65.       A dispute between Plaintiff and the Class and Defendant is before this Court
 7   concerning the construction of the auto insurance policies issued by Defendant, and the rights of
 8   Plaintiff and the Class arising under that policy.
 9          66.       Plaintiff, individually and on behalf of the Class, seeks a declaration of rights and
10   liabilities of the parties herein. Specifically, Plaintiff seeks a declaration that in paying total-loss
11   claims by first-party insureds, it is a breach of Defendant’s insurance contract, as well as a violation
12   of law, for Defendant to base the valuation and payment of claims on values of comparable vehicles
13   that have been reduced by arbitrary Projected Sold Adjustments that are (a) arbitrary, (b) contrary
14   to industry practices and consumer experiences (and therefore not reflective of the vehicle’s fair
15   market value), and (c) not as reasonably specific or appropriate as to dollar amount.
16          67.       Defendant’s unlawful common policy and general business practice as described
17   herein are ongoing. Accordingly, Defendant has breached, and continues to breach, the express
18   terms of its contracts of insurance with Plaintiff and members of the Class.
19          68.       As a result of these breaches of contract, Plaintiff and the Class members have been
20   injured.
21                                           PRAYER FOR RELIEF
22          WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated,
23   respectfully seeks judgement in Plaintiff’s favor and in favor of the Class as follows:
24        A. An Order certifying this action as a Class Action and appointing Plaintiff as Class
25              Representative and Plaintiff’s counsel as Class Counsel;
26        B. An award of damages (including actual, compensatory, statutory, and punitive, as
27              provided by law) and restitution to Plaintiff and the Class in an amount to be determined
28              at trial, plus interest, in accordance with law;
                                                     - 13 -
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 1       C. Disgorgement of Defendant’s profits;

 2       D. Appropriate preliminary and/or final injunctive or equitable relief against the conduct of

 3          Defendant’s described herein;

 4       E. An award Plaintiff’s and the Class’ costs of suit, including reasonable attorneys’ fees as

 5          provided by law; and

 6       F. An award such further and additional relief as is necessary to redress the harm caused by

 7          Defendant’s unlawful conduct and as the Court may deem just and proper under the

 8          circumstances.

 9                                          JURY DEMAND

10         Plaintiff hereby demands a jury trial on all claims so triable.

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12   Dated: May 5, 2022                          Respectfully submitted,

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                                                  SHAMIS & GENTILE, P.A.
14                                                /s/ Andrew J. Shamis
                                                  Andrew J. Shamis, Esq.
15                                                Arizona Bar No. 037343
                                                  ashamis@shamisgentile.com
16                                                14 NE 1st Avenue, Suite 705
                                                  Miami, Florida 33132
17                                                Telephone: 305-479-2299

18                                                Attorneys for Plaintiff and the Putative Class
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